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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Jose L. Parra
                                     Plaintiff,
v.                                                     Case No.: 1:18−cv−05936
                                                       Honorable Edmond E. Chang
Ocwen Loan Servicing LLC
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 10, 2018:


        MINUTE entry before the Honorable Edmond E. Chang: Status and motion
hearing held on Defendant's motion to dismiss [15]. Plaintiff's response to the motion to
dismiss [15] due by 11/09/2018. Defendant's reply due 11/30/2018. Defendant&#039;s
motion to stay discovery [19] is granted. Discovery, including MID disclosures, is stayed
pending the resolution of Defendant's motion to dismiss. Status hearing set for 12/19/2018
at 10:00 a.m.Emailed notice(slb, )




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